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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

TRISTATE CAPITAL BANK, a
Pennsylvania state chartered bank,

Plaintiff Case No.: 2:21-mc-00400-RJC

Vv. Judge: Robert J. Colville
CHARLES A. MANTELL,
ESQUIRE & DAVID C. NOVICKI,
AS CO-EXECUTORS OF THE
ESTATE OF LOUIS L. CERUZZI
AKA LOUIS CERUZZI AND
LOUIS L. CERUZZI JR.,
DECEASED, THE ESTATE OF
LOUIS L. CERUZZI AKA LOUIS
CERUZZI AND LOUIS L.
CERUZZI, JR., DECEASED and
BVS ACQUISITION CO. LLC, a
Delaware limited liability company,

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Defendants.

ORDER GRANTING MOTION TO PERMIT REGISTRATION OF JUDGMENT

AND NOW, upon consideration of the Motion to Permit Registration of Judgment filed

by Tristate Capital Bank;

IT IS HEREBY ORDERED as follows:
1. The Motion is GRANTED.
2. Pursuant to 28 U.S.C. § 1963, Tristate Capital Bank is granted leave to register the
Judgment (as defined in the Motion) in any jurisdictions in which the Defendants may

own assets.
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Dated: #17" 2& , 2021
Pittsburgh, Pénnsylvania

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ion. Robert J. Colville
United States District Court Judge

